


  Proceeding pursuant to CPLR article 78 (transferred to this Court by order of the Supreme Court, entered in Albany County) to review a determination of the Commissioner of Corrections and Community Supervision finding petitioner guilty of violating a prison disciplinary rule.
 

  Petitioner commenced this CPLR article 78 proceeding to challenge a tier III determination finding him guilty of violating a prison disciplinary rule. The Attorney General has advised this Court that the determination has been administratively reversed, all references thereto have been expunged from petitioner’s institutional record and the mandatory $5 surcharge has been refunded to petitioner’s inmate account. In view of this, and given that petitioner has been granted all the relief to which he is entitled, the petition must be dismissed as moot (see Matter of West v Annucci, 134 AD3d 1379, 1380 [2015]).
 

  Peters, P.J., Garry, Lynch, Devine and Rumsey, JJ., concur.
 

  Adjudged that the petition is dismissed, as moot, without costs.
 
